Case 1:25-cv-10685-WGY   Document 155-5   Filed 06/24/25   Page 1 of 4




                   EXHIBIT 4
           Case 1:25-cv-10685-WGY            Document 155-5            Filed 06/24/25        Page 2 of 4


                                                       Thursday, June 19, 2025 at 9:28:22 PM Eastern Daylight Time

Subject:      RE: Documents missing from Defendants' discovery
Date:         Wednesday, June 18, 2025 at 7:40:29 PM Eastern Daylight Time
From:         Murphy, Lindsay M. (CIV)
To:           Noam Biale, Alexander A Abdo, Alexandra Conlon, Courtney Gans, Jackson Busch, Jameel JaYer, Michael
              Tremonte, Ramya Krishnan, Scott Wilkens, Talya R Nevins, Xiangnong Wang
CC:           Busen, Jesse (CIV), Hennes, Stefanie (CIV), Kanellis, William G. (CIV), Kanter, Ethan (CIV), Moss,
              Benjamin M. (CIV), Santora, Victoria M (CIV), Stone, Paul (CIV), Strokus, Jessica D. (CIV), Yen, Shawna
              (USAMA)
Attachments: image001.jpg, image002.jpg, image003.jpg, image004.jpg, image005.jpg, image006.jpg, image007.jpg,
             image008.jpg




  This Message Is From an External Sender
  This message came from outside your organization.


Hi Noam,

We are still running down most of the documents on your list. Some documents, the agencies don’t
have/don’t exist. Others, they’re trying to track down. And yet others are being reviewed for
responsiveness/privilege. So, we haven’t made any decisions not to produce them yet. Two
exceptions: Documents 1.c, 1.d, and 1.e, on your list were submitted to the judge in camera and ex
parte on June 11; and Document 2.a.i was included in Production Volume 01, shared with you last
Friday (DEF-088-DEF-094).

Lindsay

From: Noam Biale <NBiale@shertremonte.com>
Sent: Wednesday, June 18, 2025 6:22 PM
To: Murphy, Lindsay M. (CIV) <Lindsay.M.Murphy@usdoj.gov>; Alexander A Abdo
<alex.abdo@knightcolumbia.org>; Alexandra Conlon <Aconlon@shertremonte.com>; Courtney Gans
<CGans@shertremonte.com>; Jackson Busch <jackson.busch@knightcolumbia.org>; jameel.jaﬀer
<jameel.jaﬀer@knightcolumbia.org>; Michael Tremonte <MTremonte@shertremonte.com>; Ramya
Krishnan <ramya.krishnan@knightcolumbia.org>; ScoY Wilkens <scoY.wilkens@knightcolumbia.org>;
Talya R Nevins <talya.nevins@knightcolumbia.org>; Xiangnong Wang
<george.wang@knightcolumbia.org>
Cc: Busen, Jesse (CIV) <Jesse.Busen@usdoj.gov>; Hennes, Stefanie (CIV) <Stefanie.Hennes@usdoj.gov>;
Kanellis, William G. (CIV) <William.G.Kanellis@usdoj.gov>; Kanter, Ethan (CIV)
<Ethan.Kanter@usdoj.gov>; Moss, Benjamin M. (CIV) <Benjamin.M.Moss2@usdoj.gov>; Santora,
Victoria M (CIV) <Victoria.M.Santora@usdoj.gov>; Stone, Paul (CIV) <Paul.F.Stone@usdoj.gov>; Strokus,
Jessica D. (CIV) <Jessica.D.Strokus@usdoj.gov>; Yen, Shawna (USAMA) <Shawna.Yen@usdoj.gov>
Subject: [EXTERNAL] RE: Documents missing from Defendants' discovery

Hi Lindsay,

Following up on the list of documents I sent Sunday night, we haven’t heard back from you on them

                                                                                                                        1 of 3
              Case 1:25-cv-10685-WGY                               Document 155-5                     Filed 06/24/25                  Page 3 of 4


on way or the other, so we assume you are not producing them. We will ﬁle a motion to compel
tomorrow.

Please also add to the list of documents we are requesting the cable that is discussed in this
article:

https://www.politico.com/news/2025/06/18/social-media-screening-student-visas-00413160

Thanks,
Noam

                                  Noam Biale
                                  90 Broad Street, 23rd Floor | New York, NY 10004
                                  tel: 212.300.2445 | fax: 212.202.4156
                                  nbiale@shertremonte.com
                                  www.shertremonte.com




This e-mail message is intended only for the personal use of the recipient(s) named above. This message may be an attorney-client communication and as such
privileged and confidential and/or it may include attorney work product. If you are not an intended recipient, you may not review, copy or distribute this message. If
you have received this communication in error, please notify us immediately by e-mail and delete the original message.



From: Murphy, Lindsay M. (CIV) <Lindsay.M.Murphy@usdoj.gov>
Sent: Monday, June 16, 2025 12:55 PM
To: Alexander A Abdo <alex.abdo@knightcolumbia.org>; Alexandra Conlon
<Aconlon@shertremonte.com>; Courtney Gans <CGans@shertremonte.com>; Jackson Busch
<jackson.busch@knightcolumbia.org>; jameel.jaﬀer <jameel.jaﬀer@knightcolumbia.org>; Michael
Tremonte <MTremonte@shertremonte.com>; Noam Biale <NBiale@shertremonte.com>; Ramya
Krishnan <ramya.krishnan@knightcolumbia.org>; ScoY Wilkens <scoY.wilkens@knightcolumbia.org>;
Talya R Nevins <talya.nevins@knightcolumbia.org>; Xiangnong Wang
<george.wang@knightcolumbia.org>
Cc: Busen, Jesse (CIV) <Jesse.Busen@usdoj.gov>; Hennes, Stefanie (CIV) <Stefanie.Hennes@usdoj.gov>;
Kanellis, William G. (CIV) <William.G.Kanellis@usdoj.gov>; Kanter, Ethan (CIV)
<Ethan.Kanter@usdoj.gov>; Moss, Benjamin M. (CIV) <Benjamin.M.Moss2@usdoj.gov>; Santora,
Victoria M (CIV) <Victoria.M.Santora@usdoj.gov>; Stone, Paul (CIV) <Paul.F.Stone@usdoj.gov>; Strokus,
Jessica D. (CIV) <Jessica.D.Strokus@usdoj.gov>; Yen, Shawna (USAMA) <Shawna.Yen@usdoj.gov>
Subject: RE: Documents missing from Defendants' discovery

Noam – acknowledging receipt of your letter and letting you know that we’re working through the list
of documents you sent this morning to determine what we can produce and by when. We’re also
working to send you ROG responses later today.

Lindsay

From: Strokus, Jessica D. (CIV) <Jessica.D.Strokus@usdoj.gov>
Sent: Monday, June 16, 2025 9:26 AM
To: Murphy, Lindsay M. (CIV) <Lindsay.M.Murphy@usdoj.gov>
Subject: FW: Documents missing from Defendants' discovery

                                                                                                                                                                         2 of 3
        Case 1:25-cv-10685-WGY            Document 155-5         Filed 06/24/25   Page 4 of 4




From: Noam Biale <NBiale@shertremonte.com>
Sent: Sunday, June 15, 2025 11:53 PM
To: Kanellis, William G. (CIV) <William.G.Kanellis@usdoj.gov>
Cc: jameel.jaﬀer <jameel.jaﬀer@knightcolumbia.org>; Ramya Krishnan
<ramya.krishnan@knightcolumbia.org>; carrie.decell@knightcolumbia.org; Xiangnong Wang
<george.wang@knightcolumbia.org>; Talya R Nevins <talya.nevins@knightcolumbia.org>; Jackson Busch
<jackson.busch@knightcolumbia.org>; ScoY Wilkens <scoY.wilkens@knightcolumbia.org>;
arulanantham@law.ucla.edu; Michael Tremonte <MTremonte@shertremonte.com>; Alexandra Conlon
<Aconlon@shertremonte.com>; Courtney Gans <CGans@shertremonte.com>; Kanter, Ethan (CIV)
<Ethan.Kanter@usdoj.gov>; Santora, Victoria M (CIV) <Victoria.M.Santora@usdoj.gov>; Strokus, Jessica
D. (CIV) <Jessica.D.Strokus@usdoj.gov>; Busen, Jesse (CIV) <Jesse.Busen@usdoj.gov>; Stone, Paul (CIV)
<Paul.F.Stone@usdoj.gov>; Yen, Shawna (USAMA) <Shawna.Yen@usdoj.gov>; Hennes, Stefanie (CIV)
<Stefanie.Hennes@usdoj.gov>
Subject: [EXTERNAL] Documents missing from Defendants' discovery

Dear All,

Based on our review of the discovery you provided and the deposition testimony of Messrs.
Armstrong and Watson, it has become clear to us that there are numerous gaps in Defendants’
productions. The attached letter identiﬁes the documents that are missing and should be turned
over immediately. Because the 30 day deadline for you to respond to our RFPs and interrogatories
has already lapsed, we ask that you respond to the attached letter by close of business tomorrow
or we will have to ﬁle a motion to compel.

Regards,
Noam

                     Noam Biale
                     Sher Tremonte LLP
                     90 Broad Street, 23rd Floor | New York, NY 10004
                     tel: 212.300.2445 | fax: 212.202.4156
                     nbiale@shertremonte.com
                     www.shertremonte.com




                                                                                                        3 of 3
